  Case 19-80578       Doc 96   Filed 09/04/19 Entered 09/04/19 13:26:29               Desc Main
                                  Document Page 1 of 1
                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Western Division

In Re:                                        )               BK No.:      19-80578
KEVIN CHIDLEY and LISA CHIDLEY                )
fdba KC FARMS,                                )               Chapter: 7
                                              )
                                                              Honorable Thomas M. Lynch
                                              )
                                              )
               Debtor(s)                      )

                ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

        THIS MATTER coming on to be heard on the Motion of HOLCOMB BANK, a secured creditor
herein, by its attorneys, BARRICK, SWITZER, LONG, BALSLEY & VAN EVERA, LLP, for relief
from the automatic stay, the Court having jurisdiction over the subject matter and due notice having
been sent to all parties of interest, and the Court being fully advised in the premises;

      IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the Movant, HOLCOMB
BANK, is granted relief from the automatic stay as provided in Section 362(d) of the United States
Bankruptcy Code to enforce its rights against the real estate located at 1212 North 14th Street, Rochelle,
IL.




                                                          Enter:


                                                                   Honorable Thomas M. Lynch
Dated: September 04, 2019                                          United States Bankruptcy Judge

 Prepared by:
 Attorney James E. Stevens (3128256)
 BARRICK, SWITZER, LONG,
   BALSLEY & VAN EVERA, LLP
 6833 Stalter Drive
 Rockford, IL 61108
 (815) 962-6611
 jstevens@bslbv.com
